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Attorney for Defendant Mark Dencklau

                          UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON
•
                                   PORTLAND DIVISION

    UNITED STATES OF AMERICA,                                   No. 3:18-CR-00319-JO-1

           Plaintiff,
                                                           REQUEST FOR PRETRIAL
           vs.                                                       DISCOVERY

    MARK LEROY DENCKLAU,

           Defendant.


       Pursuant to Federal Rules of Criminal Procedure 12(b)(4)(B) and 16, the

defendant, Mark Dencklau, through his attorney, Erik Eklund, moves the United

States Attorney to produce the following material available to the defendant.

       Rule 16 of the Federal Rules of Criminal Procedure is “intended to prescribe

the minimum amount of discovery to which the parties are entitled. It is not

intended to limit the judge's discretion to order broader discovery in appropriate

cases.” United States v. Armstrong, 116 S.Ct. 1480, 1491 (1996) (Breyer J.,

concurring); United States v. Burnes, 15 F.3d 211, 215 n.2 (1st Cir. 1994)(same).

       The individual prosecutor has a duty to learn of any favorable evidence

known to others acting on the Government’s behalf in the case, including the police.

Kyles v. Whitley, 115 S.Ct. 1555, 1567 (1995) (emphasis added) citing Brady v.


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Maryland, 373 U.S. 83 (1963); United States v. Hanna, 55 F.3d 1456 (9th Cir. 1995).

It was held to be a Rule 16 violation where the Government failed to turn over a

transcript of defendant’s recorded telephone call with a defense witness. United

States v. Alex, 788 F.Supp. 1013, 1016 (N.D. Ill. 1992) (where Government “offered

no compelling explanation” for non-disclosure of statements of co-defendant, court

exercises discretion to order disclosure).

       1. The substance of all oral statements of defendant and any co-defendant to

   any Government agent; Alex, 788 F.Supp. at 1016; United States v. Bailleux, 685

   F.2d 1105, 1114 (9th Cir. 1982) (Government should disclose any potentially

   relevant statement made by the defendant); United States v. Camargo-Vergara,

   57 F.3d 993, 998-999 (11th Cir. 1995) (reversible error to fail to disclose

   defendant’s post-arrest statement where defense strategy affected).

       2. Any agent's underlying rough notes of the statements requested in item 1

   above, including all entries in officers’ field notebooks or their equivalent. See

   United States. v. Harris, 543 F.2d 1247, 1253 (9th Cir. 1976) (rough notes of

   interviews, especially with the accused, are discoverable and must be preserved);

   United States v. Layton, 564 F. Supp. 1391, 1395 (D. Or. 1983) (court exercises

   discretion under Rule 16 to order disclosure of notes of interview with

   defendant).

       3. A copy of the defendant's record, co-defendant’s record, and that of any

   witness, of prior convictions and the criminal identification and history sheet.



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   Rule 16 (a)(1)(B); See United States v. Audelo-Sanchez, 923 F.2d 129, 130 (9th

   Cir. 1990). Both national and local criminal records should be searched

   including:

               a. Records of the witnesses arrest or conviction maintained and

                 prepared by the Federal Bureau of Investigation, the Drug

                 Enforcement Administration, Oregon State Police, or any other law

                 enforcement agency. See United States v. Perdomo, 929 F.2d 967 (3rd

                 Cir. 1991).

               b. Facts or allegations concerning criminal or other misconduct that is

                 not reflected in a criminal record such as information found in

                 probation, administrative sanctions, and information respecting

                 pending criminal charges or investigations. See United States v.

                 Strifler, 851 F.2d 1197 (9th Cir. 1988), cert. den., 489 U.S. 1032

                 (1989) (probation file must be produced if material and relevant).

       4. All books, papers, documents, tangible objects, photographs, buildings or

   places which are “material to the preparation of the defense.” Rule 16 (a)(1)(C).

   This request includes but is not limited to:

               a. Any reports or notes concerning, and/or tape recordings of, the

               conversation between defendant and other persons interviewed.

               b. All medical records, including psychological or psychiatric records

               for defendant, and co-defendants, and/or persons mentioned in



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               investigative reports.

       5. All items in request 4 which “belong to” or were “obtained from” the

   defendant. Rule 16 (a)(1)(C).

       6. Any evidence “intended for use by the Government” as evidence in its case

   in chief. Rule 16 (a)(1)(C); see Rule 12(d)(2); United States v. de la Cruz-Paulino,

   61 F.3d 986, 992-995 (1st Cir. 1995) (Government’s failure to designate evidence

   was violation of Rule 12(d)(2) “which creates a notice requirement”).

       7. All information and material obtained from any telephone company, bank,

   savings and loan, financial institution, brokerage firm, utility or similar

   institution or company, public or not, pertaining to any account or transaction of

   the defendant, whether intended to be used at trial or not, and all

   documentation utilized in obtaining such material and information, i.e., grand

   jury subpoena, etc.

       8. All tax returns or tax records, whatever their nature, and all supporting

   materials, of defendant and witnesses which are in the possession of the

   Government, and which have been seen, reviewed, or referred to in any way by

   Government personnel in connection with this case or the investigation

   preceding the return of this Indictment.

       9. All financial reviews, whatever their nature and all supporting materials,

   of defendant and witnesses which are in possession of the Government, and

   which have been seen, reviewed, or referred to in any way by Government



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   personnel in connection with this case or the investigation preceding the return

   of this Indictment.

       10. All information and material obtained from governmental agencies about

   the defendant which he would be entitled to receive upon request to said agency

   (i.e. motor vehicle records, military records, etc.).

       11. Any and all photographs of defendant taken during surveillance or

   obtained otherwise, including videotapes and photographs of defendant’s

   residence.

       12. Any evidence of matter sent to or by the defendant, which has been

   subject to a mail cover or mail opening by the Government, during the period of

   the investigation leading to this Indictment, including any such procedures

   followed by Bureau of Prisons or the Multnomah County Sheriff’s Office.

       13. The name of every prospective Government witness to be called at trial.

   See Arizona v. Maypenny, 672 F.2d 761, 765 (9th Cir.) (Court has inherent

   authority to order discovery of names of witnesses); cert. denied, 459 U.S. 850

   (1982); United States v. Tucker, 716 F.2d 576, 583 (9th Cir. 1983) (ineffective

   assistance of counsel to fail to interview Government witnesses before trial);

   Callahan v. United States, 371 F.2d 658, 660 (9th Cir. 1967) (“both sides have

   right to interview witnesses before trial”).

       14. All documents, exhibits, graphs, displays, charts, computer printouts, and

   photographs which the Government may or presently intends to use and/or offer



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   at trial.

       15.

                                      The Grand Jury

       18. The commencement and termination date of the grand jury indicting the

   defendant. In Re Grand Jury, 903 F.2d 180 (3d Cir. 1990).

       19. The number (not names) of grand jurors attending each session of the

   grand jury and the number of grand jurors (not names) voting to indict. See

   United States v. Leverage Funding Systems, Inc., 637 F.2d 645 (9th Cir.)

   (prerequisites to valid indictment are that "every grand jury session was

   attended by at least 16 jurors" and that "at least 12 jurors voted to indict.") cert.

   denied, 452 U.S. 961 (1980); United States v. Alter, 482 F.2d 1016, 1029 n.21 (9th

   Cir. 1973) (ministerial matters like court's legal instructions to grand jury must

   be disclosed).



                            Sentencing Information
       20. Any evidence mitigating punishment of the defendant, whether or not the

   sentence is pursuant to the guidelines. Brady v. Maryland, 373 U.S. 83 (1963)

   (accomplice statement that he, not defendant, was actual shooter mitigates

   punishment of defendant); Blazak v. Ricketts, 1 F.3d 891 (9th Cir. 1993) (Due

   Process violated where prosecution suppressed psychiatric reports questioning

   defendant’s competence to stand trial).

       21. Disclosure of information used for purposes of determining the


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   appropriate advisory sentencing guidelines range including but not limited to

   any known aggravating or mitigating factors, including related to the offense

   behavior, the defendant’s role in the offense, and any acceptance of

   responsibility.

       22. Any information the Government would rely upon for purposes of urging

   the court to impose a sentence outside the advisory guidelines range including

   knowledge or evidence of other similar offenses, or the extent or seriousness of

   the defendant’s conduct to a degree substantially in excess of that normally

   involved in the offense.



                        The Prosecutor Has a Duty of Inquiry

       The prosecutor is requested personally to make specific inquiry of each

Government agent and agency in any way connected to the case for each of the

above items, even if the agent or agency is outside the District of Oregon. Kyles v.

Whitley, 115 S.Ct. 1555, 1567 (1995) and United States v. Hanna, 55 F.3d 1456 (9th

Cir. 1995) (the individual prosecutor has “a duty to learn of any favorable evidence

known to others acting on Government’s behalf, including the police”); United States

v. Alvarez, 86 F.3d 901 (9th Cir. 1996) (“the better practice is for the prosecutor

herself to review [surveillance notes] for Brady Materials”); United States v. Bryan,

868 F.2d 1032, 1036-37 (9th Cir.) (prosecutor deemed to have knowledge of, and

access to, anything in possession, custody or control of any federal agency, evidence



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if outside district of prosecution), cert. denied, 493 U.S. 858 (1989). See also

Demjanjuk v. Petrovsky, 10 F.3d 338, 353 (6th Cir.) (in not disclosing exculpatory

evidence, Government perpetrated fraud on the court by taking attitude that “the

right hand did not know what the left hand was doing”), cert. denied, 115 S.Ct. 295

(1993); United States v. Perdomo, 929 F.2d 967, 969-971 (3rd Cir. 1991) (U.S.

attorney responsible for locating criminal record in local jurisdiction as well as

NCIC records); United States v. Endicott, 869 F.2d 452, 455-56 (9th Cir. 1989)

(knowledge of additional payments to witness imputed to prosecutor); United States

v. Butler, 567 F.2d 885, 891 (9th Cir. 1978) (prosecutor responsible for promise by

agent even if prosecutor did not know of it); United States v. Bailleux, 685 F.2d

1105, 1113 (9th Cir. 1982) (tape in custody of FBI is deemed in custody of U.S.

Attorney); United States v. Brooks, 966 F.2 1500 (D.C. Cir. 1992) (prosecutor must

search police files for information affecting credibility of police officer who was key

witness and who, after first trial, was found shot in her apartment with revolver in

presence of another police officer); United States v. Jackson, 780 F.2d 1305, 1308 n.

2 (6th Cir. 1986) (FBI’s knowledge attributable to prosecutor); Barbee v. Warden, 331

F.2d 842, 846 (4th Cir. 1964) (exculpatory ballistics report known only to police

deemed in possession of prosecutor); United States v. McCord, 509 F.2d 334, 342 n.

14 (D.C. Cir.) (en banc) (“prosecutor” includes “all agencies of the federal

Government involved in any way” in the case), cert. denied, 421 U.S. 930 (1974).




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                The Prosecutor Has a Duty of Continuing Discovery

       The Government has a continuing duty to disclose the foregoing evidence as

soon as the Government or any of its agents discovers its existence. See Mooney v.

Holohan, 294 U.S. 103, 108 (1935) (prosecutor must disclose witness had committed

perjury even when he first learns this at trial); United States v. Chestang, 849 F.2d

528, 532 (11th Cir. 1988) (continuing duty to disclose breached when prosecutor did

not disclose the witness would soon accept immunity offer).

       The Ninth Circuit does not hesitate to “condemn” any prosecutorial breach of

trust respecting its duty to disclose arguably favorable evidence. United States v.

McClintock, 748 F.2d 1278, 1285 (9th Cir.), cert. denied, 474 U.S. 822 (1984). Any

doubt about the need to disclose such evidence must be resolved “in favor of

disclosure.” United States v. Ramirez, 608 F.2d 1261, 1265 n. 6 (9th Cir. 1979); Kyles

v. Whitley, 115 S.Ct. 1555 (1995); United States v. Agurs, 427 U.S. 97, 108 (1976).

Disclosure is required even if, in the Government’s view, the evidence is not

admissible at trial. Spence v. Johnson, 80 F.3d 989, 998 (5th Cir. 1996).

       Should the Government have a good faith doubt whether evidence should be

disclosed, the AUSA is required to ask the court for an in camera review. See

United States v. Bailleaux, 685 F.2d 1105, 1114-15; United States v. Scafe, 822 F.2d

928, 936 (10th Cir. 1987) (good faith belief that defendants statements not

discoverable does not excuse failure to disclose); United States v. Lehman, 756 F.2d

725, 729 (9th Cir.) (Prosecution must either disclose the material or submit it to the



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court), cert. denied, 474 U.S. 994 (1985); United States v. Cadet, 727 F.2d 1453, 1470

(9th Cir. 1984).

       In the extremely unlikely event the Government refuses to provide

disclosure, the defendant requests such information be produced in camera for

inspection and determination by the Court of whether it shall be disclosed to the

defendant.

       The defendant requests the Government produce such information and

material on a continuing basis without need for further demand.



       RESPECTFULLY SUBMITTED this 23rd day of July, 2018.

                                            /s/ Erik E. Eklund
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